                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DIVISION
                                  No. 5:13-CV-418-BO


GARIBALDI LONGO, eta!.,                        )
          Plaintiffs,                          )
                                               )
               v.                              )                       ORDER
                                               )
TROJAN HORSE LTD., eta!.,                      )
          Defendants.                          )




       This cause comes before the Court on plaintiffs' motion to certify class and cross-

motions for summary judgment filed by plaintiffs and defendant Ascensus Trust. A hearing was

held on the matter before the undersigned on September 2, 2016, at Raleigh, North Carolina. For

the reasons discussed below, plaintiffs' class is certified and summary judgment is entered in

favor of plaintiffs on all claims.

                                          BACKGROUND

        Plaintiffs filed this putative class action regarding the alleged failure of defendants to

make contributions to a "defined contributions plan," or 401(k) plan (the Plan), of which

plaintiffs are beneficiaries. Plaintiffs, participating employees of defendants Trojan Horse and

Glen Burnie Hauling, allege that since January 1, 2009, eligible participants have contributed a

portion of their wages to the Plan, but that beginning in May or June 2012, defendants have

failed to make deposits into the plan, notwithstanding that they have continued to deduct and

withhold the regular contributions from plaintiffs' wages. Plaintiffs filed this action under the

Employee Retirement Income Security Act of 1974 (ERISA), 29 U.S.C. §§ 1001 et seq.
       On September 11, 2013, plaintiffs voluntarily dismissed their claims against Ascensus

Trust, Inc. and Frontier Trust Company. [DE 44]. The Court on January 15,2014, denied a

motion to dismiss filed by Trojan Horse, Ltd., Glen Burnie Hauling, Inc., and related defendants

(Trojan Horse defendants). [DE 53]. Subsequent to the Court's order on dismissal, counsel for

the Trojan Horse defendants was permitted to withdraw, and clerk's default under Rule 55 of the

Federal Rules of Civil Procedure was entered against defendants Trojan Horse, Glen Burnie

Hauling, Trojan Horse Ltd 401(k) Plan, Brian Hicks, and Sherry Korb. [DE 65]. Following a

period of discovery, plaintiffs moved to join Capitol Expressways, Inc., BDH Logistics LLC, and

Ascensus Trust Company as defendants; plaintiffs further stipulated to dismiss their claims

against defendants Stubbs and Korb without prejudice. [DE 75 & 77]. The Court permitted

joinder of Capitol Expressways, BDH, and Ascensus Trust as defendants and the filing of an

amended complaint on April2, 2015. [DE 79].

       Plaintiffs' amended complaint alleges claims for recovery of benefits under 29 U.S.C. §

1132(a)(1)(B), breach of fiduciary duties under 29 U.S.C. § 1132(a)(2), injunctive and other

equitable reliefunder 29 U.S.C. § 1132(a)(3), and for attorneys' fees under 29 U.S.C. § 1132(g).

Clerk's default has been entered against defendants Capitol Expressways and BDH. [DE 108].

By order entered November 12, 2015, the Court denied Ascensus Trust's (Ascensus) motion to

dismiss. [DE 109]. Specifically, the Court held that the Trust Agreement at issue expressly

provided that Ascensus would be responsible for ensuring that Plan contributions were made and

that Ascensus was a fiduciary. !d.

       The case is now before the Court on plaintiffs' motion to certify this action as a class

action and on cross-motions for summary judgment filed by plaintiffs and defendant Ascensus.

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                                          DISCUSSION

I.     CROSS-MOTIONS FOR SUMMARY JUDGMENT

       A motion for summary judgment may not be granted unless there are no genuine issues

of material fact for trial and the movant is entitled to judgment as a matter of law. Fed. R. Civ.

P. 56(a). The moving party bears the initial burden of demonstrating the absence of a genuine

issue of material fact. Celotex Corp. v. Catrett, 4 77 U.S. 317, 323 (1986). If that burden has

been met, the non-moving party must then come forward and establish the specific material facts

in dispute to survive summary judgment. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475

U.S. 574, 588 (1986). In determining whether a genuine issue of material fact exists for trial, a

trial court views the evidence and the inferences in the light most favorable to the nonmoving

party. Scott v. Harris, 550 U.S. 372, 378 (2007). However, "[t]he mere existence of a scintilla

of evidence" in support of the nonmoving party's position is not sufficient to defeat a motion for

summary judgment; "there must be evidence on which the [fact finder] could reasonably find for

the [nonmoving party]." Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 252 (1986). When

ruling on cross-motions for summary judgment, 1 a court considers each motion independently to

determine whether judgment under Rule 56 may be entered. See, e.g., Rossignol v. Voorhaar,

316 F.3d 516, 523 (4th Cir. 2003).



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  The Court has considered Ascensus' argument that plaintiffs' opposition to its motion for
summary judgment and cross-motion for summary judgment were untimely filed and holds that
plaintiffs' filing was timely. See Fed. R. Civ. P. 6(d). Further, the Court will consider plaintiffs'
motion for summary judgment although it was filed beyond the time provided by the scheduling
order as the motion has been fully briefed, Ascensus has had an opportunity to respond, and the
Court finds no prejudice which would accrue in considering plaintiffs' motion. See, e.g., Turner
v. United States, 736 F.3d 274, 283 (4th Cir. 2013).
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       Accordingly, the Court has considered the motions filed by plaintiffs and Ascensus and

the exhibits thereto, 2 as well as the statements of undisputed material facts filed pursuant to

Local Civil Rule 56.1. There is no dispute in this matter that contributions were not deposited

with the Plan as required. Rather, Ascensus argues that as a matter of law it should not be liable

for the fact that contributions were not collected or deposited according to the terms of the Plan.

A.     Fiduciary status

       As the Court has previously held, Ascensus is a fiduciary in regard to the making of

employee contributions to the Plan. [DE 109]. In considering Ascensus' motion to dismiss

based on its non-fiduciary status, the Court considered the Plan documents and held that whether

Ascensus had discretion to interpret or construe the terms of the Plan had no bearing on what the

Court found to be its fiduciary obligation to ensure that the Plan receives the funds to which it is

entitled or to enforce the Plan Administrator's obligation to deposit contributions to the Plan. !d.

at 7. Ascensus has not submitted any evidence or argument which persuades the Court that's its

prior ruling on Ascensus' fiduciary status with respect to Plan contributions was in error.

       ERISA demands that a fiduciary "discharge his duties with respect to a plan solely in the

interest ofthe participants and beneficiaries." 29 U.S.C. § 1104(a)(1). Ascensus relies on the

limiting language in the plan which would, it contends, cabin any fiduciary duty it may have had

to the proper handling of funds once deposited and transferred to it. Indeed, the Plan expressly

states that Ascensus shall have no duty or responsibility for determination of the accuracy or



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  Because the Court does not have before it the reports of plaintiffs' experts Hamad and Wheaton
to consider when deciding the pending motions, it DENIES Ascensus' motion to strike as
premature. [DE 146].

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sufficiency of any contributions to the plan or for the collection of contributions. [DE 147-14 at

6]. However, "[t]here is more to plan (or trust) administration than simply complying with the

specific duties imposed by the plan documents or statutory regime; it also includes the activities

that are ordinary and natural means of achieving the objective of the plan." Varity Corp. v.

Howe, 516 U.S. 489, 504 (1996) (internal quotation and citation omitted).

       In the context of ERISA, "trust documents cannot excuse trustees from their duties

under" the statute. Cent. States, Se. & Sw. Areas Pension Fund v. Cent. Transp., Inc., 472 U.S.

559, 568 (1985). The Supreme Court has recognized that a central purpose of ERISA is to

ensure that "if a worker has been promised a defined pension benefit upon retirement-and if he

has fulfilled whatever conditions are required to obtain a vested benefit-he actually will receive

it." Nachman Corp. v. Pension Ben. Guar. Corp., 446 U.S. 359, 375 (1980). It is thus through

this lens that the Court must determine whether the Plan's express language is sufficient to

absolve Ascensus of any duty as a fiduciary concerning whether contributions were properly

made to the plan.

       In so doing the Court is instructed by the Sixth Circuit's opinion in Best v. Cyrus, 310

F.3d 932 (6th Cir. 2002). There, the court of appeals, relying on the precedent discussed above,

held that the fiduciary duties of a trustee, whose express duties were limited by the defined

contribution plan to administration of investments, were in fact not limited to those described in

the plan document and that ERISA imposed a specific duty on that trustee to secure contributions

and repayments which it would under the plan documents be responsible for administrating. Jd

at 935-936. The Court finds the circuit court's reasoning persuasive, and holds that it similarly

applies in this instance where Ascensus was under an express duty to administer funds once

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received and thus under the principles of ERISA had a further duty to ensure that those

contributions were being made. See also Solis v. Plan Ben. Servs., Inc., 620 F. Supp. 2d 131,

141 (D. Mass. 2009) Goining "courts which have found that Section 403 imposes not only a

right, but also a duty, on trustees to monitor and collect employer contributions to ERISA

funds.").

B.     Breach offiduciary duty

       As the Court has determined that Ascensus has as a matter of law a fiduciary duty in

regard to the Plan contributions, it next determines whether summary judgment is appropriate on

the issue of breach.

        (i) Plan assets

        The Court first determines that, contrary to Ascensus' arguments, the unpaid Plan

contributions are plan assets and fall within the scope of Ascensus' duties as trustee. Plan assets

include those "amounts a participant has withheld from his wages by an employer ... as of the

earliest date on which such contributions ... can reasonably be segregated from the employer's

general assets." 29 C.F.R. § 2510.3-102(a)(1). The Plan at issue here expressly provides that

compensation to employees will include fringe benefits and that elective deferrals include any

employer contributions made as a deferral at the election of an employee in lieu of cash

compensation. [DE 142-2 at 12]. This is confirmed by Trojan Horse's payroll practices. See,

e.g., [DE 140-1].

       Recognizing a perceived "unfairness in imposing strict fiduciary responsibilities-and

personal liability-upon corporate officers who are not clearly aware of their status as

fiduciaries," the Eleventh Circuit has held "that unpaid employer contributions are not 'plan

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assets' unless specific and clear language in the plan documents or other evidence so indicates."

Pantoja v. Edward Zengel & Son Exp., Inc., 500 F. App'x 892, 895 (11th Cir. 2012). This action

is distinguishable from Pantoja for two reasons. First, the Trojan Horse 401(k) Plan documents

clearly indicate that employer contributions are in fact fringe benefits and thus Plan assets.

Second, Pantoja and the cases it relies on concern the imposition of liability on the employer

itself and its corporate assets for failing to make plan contributions. A distinction arises because

"[a] corporate officer facing limited cashflow who chooses to pay corporate obligations in lieu of

employer contributions to an ERISA plan does not breach a fiduciary duty when he makes those

decisions wearing his corporate officer hat rather than his fiduciary duty hat." Trustees of the

Graphic Commc 'ns Int 'I Union Upper Midwest Local I M Health & Welfare Plan v. Bjorkedal,

516 F.3d 719, 732 (8th Cir. 2008). This conflict is not present where, as here, the fiduciary is a

trustee and third-party. For these reasons, the Court holds that the unpaid Plan contributions are

Plan assets.

       (ii) Breach of fiduciary duty resulting in loss

       Under ERISA, "[t]he fiduciary obligations of the trustees to the participants and

beneficiaries of the plan are those of trustees of an express trust-the highest known to the law."

Donovan v. Bierwirth, 680 F.2d 263,272 n.8 (2d Cir. 1982); see also Tatum v. RJR Pension Inv.

Comm., 761 F.3d 346, 355 (4th Cir. 2014) ("ERISA imposes high standards of fiduciary duty on

those responsible for the administration of employee benefit plans and the investment and

disposal of plan assets."). Section 1104(a)(1) requires a fiduciary to act with the skill, care, and

diligence that a prudent man in like circumstances would employ. 28 U.S.C. § 1104(a)(l)(B).

"The trustee is thus expected to use reasonable diligence to discover the location of the trust

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property and to take control of it without unnecessary delay." Cent. States, 472 U.S. at 572

(internal quotation and citation omitted).

       Ascensus has proffered evidence that it had no knowledge of any ofthe actions taken or

not taken by the Trojan Horse defendants regarding Plan contributions. Indeed, nothing in the

record reflects that Ascensus took any affirmative steps to investigate or analyze the

contributions it received, and herein lies the crux of Ascensus' breach. See Tatum, 761 F.3d at

360 (inaction may properly be considered to be breach of fiduciary duty). Carefully crafted plan

documents aimed at insulating a trustee and an ostrich-like approach to the actions of plan

administrators and other plan fiduciaries should not overshadow the fact that "ERISA is [] to be

construed liberally to safeguard the interests of fund participants and beneficiaries, and to

preserve the integrity of fund assets." Landry v. Air Line Pilots Ass'n Int'l AFL-C/0, 901 F.2d

404, 417 (5th Cir. 1990); see also Keach v. US. Trust Co., 240 F. Supp. 2d 840, 845 (C.D. Ill.

2002) (fiduciaries should not "bur[y] their heads in the sand and fail[] to take appropriate

action").

C.     Damages resulting from the breach

       An ERISA fiduciary who breaches his duties shall be personally liable for any losses

resulting from the breach. 29 U.S.C. § 11 09(a). A finding that a party breached its fiduciary

duty does not however require a finding that such breach caused losses and that liability should

therefore be imposed. Plasterers' Local Union No. 96 Pension Plan v. Pepper, 663 F.3d 210,

217 (4th Cir. 2011). Instead, once the plaintiff has satisfied his burden to show that the fiduciary

breached his duty, the fiduciary must then carry his burden to demonstrate that the breach did not

cause the loss. Tatum, 761 F.3d at 363.

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       Here, the Court is not faced with determining whether sufficient evidence has been

proffered to demonstrate whether a particular decision regarding management of Plan assets was

prudent or whether a particular investment or divestment was imprudent. See, e.g., Plasterers',

663 F.3d at 218 (failure to investigate alternative investments does not necessarily mean actual

investments were imprudent). Rather, Ascensus' position on causation is that plaintiffs cannot

show that Ascensus would have been successful if it had brought suit against the Trojan Horse

defendants for unpaid contributions, or notified the Department of Labor, or taken other similar

action, and thus they cannot prevail on the issue of causation. As discussed above, however, the

burden on causation is with the fiduciary, not the plan participants. Moreover, unlike the

fiduciaries in the cases cited by Ascensus, Ascensus has proffered no evidence that it weighed

the risks and benefits of bringing suit or of taking any action in regard to the unpaid

contributions. See, e.g., Diduck v. Kaszycki & Sons Contractors, Inc., 874 F.2d 912, 917 (2d Cir.

1989) (fiduciary acted prudently in declining to initiate suit when fiduciary had determined that

defendant was insolvent).

       A "plan fiduciary carries its burden [on causation] by demonstrating that it would have

reached the same decision had it undertaken a proper investigation." Tatum, 761 F.3d at 364.

This standard is more exacting than one which would allow a fiduciary to meet its burden by

showing that a prudent fiduciary "could have" reached the same decision. !d. at 365. Ascensus

has proffered an expert who has opined that because the Trojan Horse defendants were

approaching insolvency and the Department of Labor was already on the case, "a professional

and prudent fiduciary in the 401(k) industry would not have commenced suit under the

circumstances here." [DE 147-4 ~ 17]. Ascensus' expert's opinion does not discuss whether any

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other actions could have been taken by Ascensus, including conducting an audit of Trojan

Horse's records or threatening work stoppages. Diduck, 874 F.2d at 917. Further, Ascensus'

expert opinion that a prudent fiduciary would have properly decided not to commence suit does

not address the circumstance present here - the question is not whether Ascensus made a prudent

choice as between actions, but whether a prudent fiduciary would have chosen, as Ascensus did,

to bury its head in the sand and conduct no investigation and therefore take no action. Because a

trustee breaches its fiduciary duty "by failing even to investigate a possible lawsuit ... to recover

the delinquent contributions .... ". Diduck, 874 F.2d at 917, and further "breaches his duty when

he fails to consider his obligations to collect delinquent contributions," Holdeman v. Devine, 572

F.3d 1190, 1193 (lOth Cir. 2009), the Court holds that Ascensus has not carried its burden on

causation here.

D.     Co-fiduciary liability

       That ERISA will not tolerate willful ignorance is further illustrated by its express

provision for co-fiduciary liability. 29 U.S.C. § 1105(a) provides that "a fiduciary with respect

to a plan shall be liable for a breach of fiduciary responsibility of another fiduciary with respect

to the same plan" ifthe fiduciary's failure to comply with§ 1104(a)(l) enabled another fiduciary

to commit a breach. 29 U.S.C. § 1105(a)(2). Section 1105(a)(2) does not require any knowledge

of what the co-fiduciary is doing in order to impose liability. In re Enron Corp. Sec., Derivative

& ERISA Litig., 284 F. Supp. 2d 511, 581 (S.D. Tex. 2003).

       As discussed above, Ascensus' inaction in this instance is sufficient to demonstrate that it

breached the prudent man standard in acting as a fiduciary for the Plan and its participants. See

Tatum 761 F.3d at 360 ("By conducting no investigation, analysis, or review of the

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circumstances ... , [the fiduciary] acted with procedural imprudence no matter what level of

scrutiny is applied to its actions."). Particularly instructive to the Court on this issue is the

Seventh Circuit's holding in Free v. Briody, 732 F.2d 1331 (7th Cir. 1984). In that case, Briody

argued, like Ascensus, that he could not have failed to discharge any duty in compliance with the

prudent-man standard because he was not a trustee or was not aware of his trustee status. Id. at

1335. Noting that the court had already rejected Briody's argument that he was not a trustee, it

held that "[b]y failing to take any action with respect to the Plan, Briody enabled Hodgman to

breach his fiduciary duties." !d. The court went on to state that Briody "could not avoid liability

for Hodgman's mismanagement of the Plan by simply doing nothing." Id. at 1336.

       A similar circumstance is present here. Although Ascensus attempted to limit its

fiduciary status through the terms of the Plan documents, it cannot not avoid its high fiduciary

duty to the Plan participants. Nonfeasance is plainly a breach of fiduciary duty under §

1104(a)(1), see id. (citing H.R.Rep. No. 1280, 93d Cong., 2d Sess., reprinted in 1974 U.S.Code

Cong. & Ad.News 4639, 5038, 5080), and liability is proper as against Ascensus for the loss

incurred here.

E.     Remaining claims and arguments

       Plaintiffs' claims are not barred by the Service Contract Act, 41 U.S.C. §§ 6701 et seq.,

as the Court has determined that the contributions at issue are appropriately considered Plan

assets and are governed by ERISA. See also Longo v. Trojan Horse Ltd., 992 F. Supp. 2d 612,

616 (E.D.N.C. 2014) ("ERISA and the SCA can each be given effect and plaintiffs are not

limited to a remedy under the SCA for claims of unpaid benefits or breach of fiduciary duty

under ERISA."). Plaintiffs' claims are further not barred by the default judgment obtained by

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the Department of Labor against the Trojan Horse defendants. Ascensus Trust was not a

defendant in that action and its status as a fiduciary was not decided, thus the judgment in that

action does not have any preclusive effect on whether Ascensus committed any breach or should

be held responsible for the loss. See Montana v. United States, 440 U.S. 147, 153 (1979).

       Because the Court has found that liability for breach of fiduciary duty under 29 U.S.C. §

1132(a)(2) is proper, plaintiffs' claims for recovery ofbenefits under 29 U.S.C. § 1132(a)(l)(B)

and for injunctive and other equitable relief under 29 U.S.C. § 1132(a)(3), are redundant and

may be dismissed. See, e.g., Rochow v. Life Ins. Co. ofN Am., 780 F.3d 364, 372 (6th Cir.

20 15) (only where claims are based in distinct injuries can ERISA plaintiff recover for breach of

fiduciary duty and for recovery of benefits).

       Finally, Ascensus has asserted cross-claims for contractual and common law

indemnification against defendants Trojan Horse Ltd., Glen Burnie Hauling, Capitol

Expressways, BDH Logistics, and Brian Hicks. No cross-defendant has answered Ascensus'

claim and each cross-defendant has already been found by the Clerk of Court to be in default as

to plaintiffs' claims. [DE 65; 108]; see also Hartford Fire Ins. Co. v. Sunteck Transp. Grp., Inc.,

No. 2:10CV191, 2011 WL 2938466, at *2 (E.D. Va. June 29, 2011) ("The general effect ofthe

entry of default under Rule 55(a) is that the defaulting party loses his standing in court, his right

to receive notice of the proceedings, and his right to present evidence at the final hearing.").

There is no requirement that service under Rule 4 be perfected in order to properly assert a cross-

claim, Am. Gen. v. Equitable Gen., 87 F.R.D. 736, 738 (E.D. Va. 1980), and a cross-claim for

contribution or indemnity has been held not to be a substantive claim. See, e.g. Rainbow Mgmt.

Grp., Ltd v. Atlantis Submarines Hawaii, L.P., 158 F.R.D. 656, 660 (D. Haw. 1994).

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Accordingly, because the cross-defendants have failed to answer the cross-claim, and there is no

suggestion that plaintiffs' service of process of the amended complaint was insufficient, In re

Smith, No. 05-81334C-7D, 2011 WL 4002251, at *2 (Bankr. M.D.N.C. Feb. 7, 2011), the Court

finds that entry of default on the cross-claims is appropriate. See, generally, Rodriguez v. Irwin,

No. 7:10-CV-102-FL, 2011 WL 737316, at *5 (E.D.N.C. Feb. 23, 2011) ("Although Rule 55(a)

authorizes the clerk to enter a default, the court is empowered under the rule to direct entry of

default").

II.    CLASS CERTIFICATION

       Rule 23 of the Federal Rules of Civil Procedure provides that certification of a class is

appropriate if the following prerequisites are satisfied:

       (1) the class is so numerous that joinder of all members is impracticable;
       (2) there are questions of law or fact common to the class;
       (3) the claims or defenses of the representative parties are typical of the claims or
       defenses of the class; and
       (4) the representative parties will fairly and adequately protect the interests ofthe
       class.
Fed R. Civ. P. 23(a). 3 If the prerequisites have been satisfied, the parties seeking class

certification must also demonstrate that the action falls within a category of Rule 23(b).

See Haywoodv. Barnes, 109 F.R.D. 568,575 (E.D.N.C. 1986).

A.     Rule 23(a)

       Plaintiffs have satisfied the prerequisites for class certification under Rule 23(a).

Numerosity has been demonstrated as plaintiffs reasonably estimate based on payroll records that




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 These requirements are generally referred to and will be referred to herein as the numerosity,
commonality, typicality, and adequacy-of-representation requirements.

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the class is comprised of approximately 485 employees with relevant deductions in 2011, 583

employees in 2012, and 433 employees in 2013. The size of the putative class clearly makes

joinder impracticable. See, e.g., Cypress v. Newport News Gen. & Nonsectarian Hasp. Ass 'n,

375 F.2d 648,653 (4th Cir. 1967) ("No specified number is needed to maintain a class action"

and eighteen people sufficient to comprise a class).

       The commonality requirement demands that there be questions of law or fact common to

the class. All factual or legal questions raised in the litigation need not be common, so long as at

least one issue is common to all members. See Hosley v. Armour & Co., 743 F.2d 199,217 (4th

Cir. 1984). In the instant case, the existence of common questions of law and fact is clear. Each

named plaintiff and putative class member is a current or former employee of defendants Trojan

Horse Ltd. or Glen Burnie Hauling and was a participant in the Plan. There is one Plan in which

all plaintiffs participated which is governed by the same documents. The allegations against

defendant Ascensus are that it breached its fiduciary duty by failing to ensure that Plan

contributions were properly accounted for, made, and collected, and that Ascensus' breach gives

rise to personal liability and the right of the Plan to recover any losses incurred as a result of the

breach. Although there would need to be a determination of damages as to each individual class

member, Rule 23 "contains no suggestion that the necessity for individual damage

determinations destroys commonality, typicality, or predominance, or otherwise forecloses class

certification. In fact, Rule 23 explicitly envisions class actions with such individualized damage

determinations." Gunnells v. Healthplan Servs., Inc., 348 F.3d 417, 427-28 (4th Cir. 2003).

       The commonality requirement has therefore been satisfied, and the same bases further

support satisfaction of the typicality requirement. See Gen. Tel. Co. ofSouthwest v. Falcon, 457

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U.S. 147, 158 n.13 (1982) ("The commonality and typicality requirements of Rule 23(a) tend to

merge."). "The claim of a party is typical if it arises from the same event or course of conduct

which gives rise to the claims of other class members and is based on the same legal theory."

Haywood, 109 F.R.D. at 578. As with the commonality requirement, typicality does not require

that the claims of the named plaintiffs be identical to those of the class, rather that there be

"substantial similarity of legal theory" which both the named plaintiffs and the class advance.

Id As discussed above, the named plaintiffs and class members were Plan participants who

made contributions to the Plan, and any breach of fiduciary duty by Ascensus would apply

equally to all plaintiffs, irrespective of the measure of individualized harm.

        Finally, the Court finds that the named plaintiffs will serve as adequate representatives

and will fairly and adequately protect the interests of the class. The inquiry as to this final

prerequisite entails whether "1) plaintiffs interests are antagonistic to the interest of other

members of the class and 2) plaintiffs attorneys are qualified, experienced and able to conduct

the litigation." Baffa v. Donaldson, Lufkin & Jenrette Sec. Corp., 222 F.3d 52, 60 (2d Cir.

2000). The Court has been presented with no persuasive argument that these plaintiffs have any

interests antagonistic to those of the class, or that plaintiffs' attorneys are not sufficiently

qualified and experienced. The Court finds the adequacy-of-representation requirement to have

been satisfied.

B.     Rule 23(b)

       The Court must next determine whether plaintiffs have satisfied one of the conditions

provided by Rule 23(b). Certification of a class under Rule 23(b)(1) is appropriate where

separate actions by class members "would create a risk of inconsistent or varying adjudications .

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.. that would establish incompatible standards of conduct for [the defendant]" or where

adjudications as to individual class members would, "as a practical matter, []be dispositive of

the interests of the other members not parties ... or would substantially impair or impede their

ability to protect their interests." Fed. R. Civ. P. 23(b)(l)(A)-(B). Thus "23(b)(l)(A) considers

possible prejudice to the defendants, while 23(b)(l)(B) looks to possible prejudice to the putative

class members." In re Ikon Office Sols., Inc., 191 F.R.D. 457,466 (E.D. Pa. 2000).

        The Advisory Committee Notes to Rule 23(b)(l)(B) state that "an action which charges a

breach of trust by an indenture trustee or other fiduciary similarly affecting the members of a

large class of security holders or other beneficiaries, and which requires an accounting or like

measures to restore the subject of the trust" is an appropriate action for certification under Rule

23(b)(l)(B). Indeed, "[i]n light ofthe derivative nature ofERISA § 502(a)(2) claims, breach of

fiduciary duty claims brought under§ 502(a)(2) are paradigmatic examples of claims appropriate

for certification as a Rule 23(b)(l) class, as numerous courts have held." In re Schering Plough

Corp. ERISA Litig., 589 F.3d 585, 604 (3d Cir. 2009); see also Tatum v. R.J Reynolds Tobacco

Co., 254 F.R.D. 59, 67 (M.D.N.C. 2008) (listing cases). The Court finds that this case provides a

similar circumstance to those which have held that class certification is appropriate under Rule

23(b)(l)(B), and that the adjudication of the claims with respect to the named plaintiffs would, as

a practical matter, be dispositive of the interests of other class members or would substantial

impair their ability to protect their interests.

        Ascensus' reliance on Pipefitters Local 636 Ins. Fund v. Blue Cross Blue Shield of

Michigan, 654 F.3d 618, 621 (6th Cir. 2011), to argue that certification under 23(b)(l) is

inappropriate is misplaced. In Pipefitters, the Sixth Circuit addressed a multi-group class of self-

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insured employee health and welfare plan groups, each of which contracted with Blue Cross

Blue Shield of Michigan pursuant to different administrative service contracts. !d. at 622-624.

Here, there is but one set of Plan documents which apply, and Ascensus' status as a fiduciary as

to each member of the class will not require an individualized inquiry into separate plans or

contracts. Further, the Court would note that much of Ascensus' opposition to the instant motion

concerned arguments which, at bottom, address the merits of plaintiffs' claims, which the Court

cannot consider when deciding a Rule 23 motion. See Eisen v. Carlisle & Jacquelin, 417 U.S.

156, 177 (1974).

       Accordingly, plaintiffs having satisfied the Rule 23 requirements, their motion to certify

class is GRANTED.

C.     Rule 23(c) & (g)

       The class certified herein is defined as:

       All Trojan Horse Ltd 401(k) Plan (Plan) participants who contributed to the Plan
       through payroll deduction from January 1, 2011, through the date of entry of this
       order.

Plaintiffs Allen Hester, Carl Swanson, and Steven White are appointed as class representatives,

and counsel for plaintiffs are appointed as class counsel.

                                          CONCLUSION

       For the foregoing reasons, plaintiffs' motion to certify class [DE 136] is GRANTED.

Plaintiffs' motion for summary judgment [DE 150] is GRANTED IN PART and DENIED IN

PART and defendant Ascensus Trust's motion for summary judgment [DE 147] is DENIED.

Plaintiffs are entitled to entry of judgment in their favor on their claim against defendant



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Ascensus Trust for breach of fiduciary duty pursuant to 29 U.S.C. § 1132(a)(2). Ascensus'

motion to strike [DE 146] is DENIED.

       As default has been entered against the remaining defendants, the Court finds that entry

of judgment against Ascensus Trust the non-appearing defendants and cross-defendants in the

amount representing the unpaid contributions to the Plan, $2,985,914.27, is appropriate.

Defendants shall be jointly and severally liable for the unpaid contributions pursuant to 28

U.S.C. § 1109(a). Post-judgment interest is awarded at the legal rate. As the Court finds no just

reason for delay, clerk is DIRECTED to enter judgment against Ascensus Trust, BDH Logistics,

and Capitol Expressways pursuant to Rule 54(b) ofthe Federal Rules of Civil Procedure.

       The Court further finds that an award of attorneys' fees and costs to class counsel is

appropriate pursuant to 29 U.S.C. § 1132(g). Class counsel shall file its affidavit in support of

fees and costs not later than October 15, 2016. Any response thereto shall be filed not later than

November 4, 2016.

       Because defendants Trojan Horse, Ltd., Glen Burnie Hauling, Trojan Horse LTD 401(k)

Plan, and Brian Hicks have appeared in this action prior to entry of default against them, notice

is hereby provided in accordance with Rule 55(b)(2) that judgment by default in the amount of

$2,985,914.27 shall be entered against them. Failure to oppose entry of default judgment prior to

;l :60~EST) on Friday, September 30, 2016, shall result in entry of default judgment.


SO ORDERED, this ~ Oday of September, 2016.


                                               RRENCE W. BOYLE
                                             UNITED STATES DISTRIC

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